Case 6:23-bk-11535-MH Doci12_ Filed 05/01/23 Entered 05/01/23 11:22:38 Desc
Main Document Page 1 of 23

TM Meter CoM a its mer- tay

Debtorname Okaysou Corporation  __

| Case number (ifknown) 6:23-bk-11535
eee 1 Check if this is an

amended filing

Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors tas

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.

Saey Declaration and signature

| am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
individual serving as a representative of the debtor in this case.

| have examined the information in the documents checked below and | have a reasonable belief that the information is true and correct:

Schedule A/B: Assets—Real and Personal Property (Official Form 206A/B)

Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

Schedule H: Codebtors (Official Form 206H)

Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

Amended Schedule

Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
Other document that requires a declaration

NOOOoOoOooo0oO

| declare under penalty of perjury that the foregoing is true and correct.

Signature of individual signing on befialf of debtor

Executedon April 28, 2023 X Is! Hao Ma

HaoMa
Printed name

Chief Executive Officer

Position or relationship to debtor

Official Form 202 Declaration Under Penalty of Perjury for Non-Individual Debtors
Case 6:23-bk-11535-MH Doc12 Filed 05/01/23 Entered 05/01/23 11:22:38 Desc
Main Document Page 2 of 23

United States Bankruptcy Court
Central District of California

Inre _Okaysou Corporation —_— __ _ Case No. — 6:23-bk-11535
Debtor(s) Chapter 11

LIST OF EQUITY SECURITY HOLDERS

Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

Name and last known address or place of | Security Class Number of Securities Kind of Interest
business of holder —

Hao Ma Common Stock 1000 Ownership
603 S. Miliken Ave, Ste G
Ontario, CA 91761

DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

I, the Chief Executive Officer of the corporation named as the debtor in this case, declare under penalty of perjury

that I have read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information
and belief.

Date April 28,2023 —

—CsSSignature /s/Hao Ma — Heo pe

Hao Ma

Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
18 U.S.C. §§ 152 and 3571.

Sheet | of | in List of Equity Security Holders
1.

None _

2.

None

3.

None

4.

None

Case 6:23-bk-11535-MH Doci12_ Filed 05/01/23 Entered 05/01/23 11:22:38 Desc
Main Document Page 3 of 23

STATEMENT OF RELATED CASES
INFORMATION REQUIRED BY LBR 1015-2
UNITED STATES BANKRUPTCY COURT, CENTRAL DISTRICT OF CALIFORNIA

A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform Act of 1978 has previously been filed by or
against the debtor, his/her spouse, his or her current or former domestic partner, an affiliate of the debtor, any
copartnership or joint venture of which debtor is or formerly was a general or limited partner, or member, or any
corporation of which the debtor is a director, officer, or person in control, as follows: (Set forth the complete number
and title of each such of prior proceeding, date filed, nature thereof, the Bankruptcy Judge and court to whom
assigned, whether still pending and, if not, the disposition thereof. If none, so indicate. Also, list any real property
included in Schedule A/B that was filed with any such prior proceeding(s).)

(If petitioner is a partnership or joint venture) A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform
Act of 1978 has previously been filed by or against the debtor or an affiliate of the debtor, or a general partner in the
debtor, a relative of the general partner, general partner of, or person in control of the debtor, partnership in which the
debtor is a general partner, general partner of the debtor, or person in control of the debtor as follows: (Set forth the
complete number and title of each such prior proceeding, date filed, nature of the proceeding, the Bankruptcy Judge
and court to whom assigned, whether still pending and, if not, the disposition thereof. If none, so indicate. Also, list
any real property included in Schedule A/B that was filed with any such prior proceeding(s).)

(If petitioner is a corporation) A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform Act of 1978 has
previously been filed by or against the debtor, or any of its affiliates or subsidiaries, a director of the debtor, an officer
of the debtor, a person in control of the debtor, a partnership in which the debtor is general partner, a general partner
of the debtor, a relative of the general partner, director, officer, or person in control of the debtor, or any persons, firms
or corporations owning 20% or more of its voting stock as follows: (Set forth the complete number and title of each
such prior proceeding, date filed, nature of proceeding, the Bankruptcy Judge and court to whom assigned, whether
still pending, and if not, the disposition thereof. If none, so indicate. Also, list any real property included in Schedule
A/B that was filed with any such prior proceeding(s).)

(If petitioner is an individual) A petition under the Bankruptcy Reform Act of 1978, including amendments thereof, has
been filed by or against the debtor within the last 180 days: (Set forth the complete number and title of each such prior
proceeding, date filed, nature of proceeding, the Bankruptcy Judge and court to whom assigned, whether still
pending, and if not, the disposition thereof. If none, so indicate. Also, list any real property included in Schedule A/B
that was filed with any such prior proceeding(s).)

| declare, under penalty of perjury, that the foregoing is true and correct.

Executedat > —__, California. is! Hao Ma ier Ate

Date: April 28, 2023

Hao Ma >
Signature of Debtor 1

Signature of Debtor 2

This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

October 2018 Page 1 F 1015-2.1.STMT.RELATED.CASES
Case 6:23-bk-11535-MH Doc12_ Filed 05/01/23 Entered 05/01/23 11:22:38 Desc

Main Document Page 4 of 23

UU TM Coltri eM (T iam UteMer- lth

Debtorname Okaysou Corporation

United States Bankruptcy Court for the: CENTRAL DISTRICT OF CALIFORNIA

Case number (if known) 6:23-bk-11535

Official Form 206Sum

Oo

Check if this is an
amended filing

Summary of Assets and Liabilities for Non-Individuals 12/15
GREEN Summary of Assets ee - -
1. Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)
1a. Real property:
Copy line 88 from Schedule A/B..o....ccccccccccccsssssssessevsessesssssessssecssuesssssssvessesvessassessnsecssiseesnssstsaveessnescsusearansessenesesees $ 0.00
1b. Total personal property:
Copy line 91A from SCHECUIC A/Boo.ccccccccccccossssscsessssssvssussssotvvssesesevensssensvaveesonivasesssssonsonsassetssesseisssesniinseseee $ 1,622,934.00
1c. Total of all property:
Copy line 92 from Schedule A/B.....cccccccsssscssssesssssvesssessssessssusvesssssnsssssnsersesusseenssestensnsseseeuansesennnsesenvessesa $ 1,622,934.00
EXTER Summary ofLiabilities So
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D) 1,003,960.00
Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of SCHECUIE D..........:sese eerie S$ ’ ’ .
3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
3a. Total claim amounts of priority unsecured claims: 0.00
Copy the total claims from Part 1 from line 5a of Schedule EMF... ccc ees tneeeieeseenennteensennnaneaennastincens S$
3b. Total amount of claims of nonpriority amount of unsecured claims: 37,850.00
Copy the total of the amount of claims from Part 2 from line 5b Of Schedule EVP... cesses seseseetesenaeees +8 ieNe
4. Totall abilities .......c..cccccccessescescsscsesseseeseeessesessessseeeeceesnessesnesesaneseeneenteassnssassassnsanssneanesnsaueanenneaneancancancavannagscesgnaseny
Lines 2 + 3a + 3b $ 1,061,810.00
page 1

Official Form 206Sum Summary of Assets and Liabilities for Non-Individuals

Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com
Case 6:23-bk-11535-MH Doc12_ Filed 05/01/23 Entered 05/01/23 11:22:38 Desc
Main Document Page 5 of 23

TMU MeL MoM (etait ir Tce

Debtorname Okaysou Corporation _ re

United States Bankruptcy Court for the: CENTRAL DISTRICT OF CALIFORNIA

Case number (ifknown) 6:23-bk-11535

OO Check if this is an
amended filing

Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property 125

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the Instructions to understand the terms used in this form.

Cash and cash equivalents

1. Does the debtor have any cash or cash equivalents?

ONo. Go to Part 2.

@ Yes Fill in the information below.

All cash or cash equivalents owned or controlled by the debtor Current value of

debtor's interest

3. Checking, savings, money market, or financial brokerage accounts (identify all)

Name of institution (bank or brokerage firm) Type of account Last 4 digits of account

number

3.1. JP Morgan Chase Account $20,934.00
4. Other cash equivalents (/dentify all)

4.1. Funds in Debtor's Amazon Account ee __ — Unknown

4.2. Funds in Debtor's Shopify Account a Unknown
5. Total of Part 1. $20,934.00

Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

HI No. Go to Part 3.
O Yes Fill in the information below.

al eeh Accounts receivable
10. Does the debtor have any accounts receivable?

Official Form 206A/B Schedule A/B Assets - Real and Personal Property page 1
Case 6:23-bk-11535-MH Doci2_ Filed 05/01/23 Entered 05/01/23 11:22:38 Desc

Main Document Page 6 of 23

Debtor Okaysou Corporation |
Name ~

HI No. Go to Part 4.
C1 Yes Fill in the information below.

Investments
13. Does the debtor own any investments?

HE No. Go to Part 5.
DO Yes Fill in the information below.

Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

OONo. Go to Part 6.
Wi Yes Fill in the information below.
General description Date of the last Net book value of Valuation method used
physical inventory debtor's interest for current value
(Where available)
19. Raw materials

20. Work in progress

21. Finished goods, including goods held for resale
Air purifiers and filters _ _ $0.00 —
22. Other inventory or supplies

23. Total of Part 5.
Add lines 19 through 22. Copy the total to line 84.

24. Is any of the property listed in Part 5 perishable?
HNo
O Yes
25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
BNo
OC Yes. Book value Valuation method Current Value

26. Has any of the property listed in Part 5 been appraised by a professional within the last year?

HNo
O Yes
Farming and fishing-related assets (other than titled motor vehicles and land)

27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

HE No. Go to Part 7.
O Yes Fill in the information below.

Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

CI No. Go to Part 8.
Yes Fill in the information below.

General description Net book value of Valuation method used
debtor's interest for current value
(Where available)
Official Form 206A/B Schedule A/B Assets - Real and Personal Property

Case number (/fknown) 6:23-bk-11535

Current value of
debtor's interest

$1,600,000.00

$1,600,000.00

Current value of
debtor's interest

page 2
Case 6:23-bk-11535-MH Doc12_ Filed 05/01/23 Entered 05/01/23 11:22:38 Desc
Main Document Page 7 of 23

Debtor Okaysou Corporation - Case number (ifknown) 6:23-bk-11535 _

Name

39, Office furniture
Office furnishings, equipment, etc. _ $0.00 __ $2,000.00

40. Office fixtures

41. Office equipment, including all computer equipment and
communication systems equipment and software

42. Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
collections; other collections, memorabilia, or collectibles

43. Total of Part 7. $2,000.00

Add lines 39 through 42. Copy the total to line 86.

44, Is a depreciation schedule available for any of the property listed in Part 7?
HNo
D Yes

45. Has any of the property listed in Part 7 been appraised by a professional within the last year?

HNo
O Yes

ase Machinery, equipment, and vehicles ee

46. Does the debtor own or lease any machinery, equipment, or vehicles? _

Hi No. Go to Part 9.
O Yes Fill in the information below.

GRR Real property
54. Does the debtor own or lease any real property?

HI No. Go to Part 10.
0 Yes Fill in the information below.

rsa Intangibles and intellectual property ee

59, Does the debtor have any interests in intangibles or intellectual property? —

HI No. Go to Part 11.
O Yes Fill in the information below.

are a All other assets a _
70. Does the debtor own any other assets that have not yet been reported on this form?
Include all interests in executory contracts and unexpired leases not previously reported on this form.

HI No. Go to Part 12.
O Yes Fill in the information below.

Official Form 206A/B Schedule A/B Assets - Real and Personal Property page 3
Case 6:23-bk-11535-MH Doc12_ Filed 05/01/23 Entered 05/01/23 11:22:38 Desc

Debtor Okaysou Corporation

Main Document

Name

1 ee Summary

In Part 12 copy all of the totals from the earlier parts of the form

80.

81.
82.
83.
84.
85.

86.

87.

88.

89.

90.

91.

92.

Official Form 206A/B

Type of property

Cash, cash equivalents, and financial assets.
Copy line 5, Part 1

Deposits and prepayments. Copy line 9, Part 2.
Accounts receivable. Copy line 12, Part 3.

Investments. Copy line 17, Part 4.

Inventory. Copy line 23, Part 5.

Farming and fishing-related assets. Copy line 33, Part 6.

Office furniture, fixtures, and equipment; and collectibles.
Copy line 43, Part 7.

Machinery, equipment, and vehicles. Copy line 51, Part 8.

Real property. Copy line 56, Part 9.........00.0.0ccccccccecescecceessessaeennees

Intangibles and intellectual property. Copy line 66, Part 10.

All other assets. Copy line 78, Part 11.

Total. Add lines 80 through 90 for each column

Total of all property on Schedule AJB. Add lines 91a+91b=92

Page 8 of 23

Current value of
personal property

$20,934.00

$0.00
$0.00
$0.00
$1,600,000.00

$0.00

$2,000.00

$0.00

$1,622,934.00

Schedule A/B Assets - Real and Personal Property

Current value of real

Case number (if known) 6:23-bk-11535

$0.00

$0.00

$1,622,934.00

page 4
Case 6:23-bk-11535-MH Doc12 Filed 05/01/23 Entered 05/01/23 11:22:38 Desc
Main Document Page 9 of 23

TIM eM celenireLtelim com Ce LCi n a UUme: Eee

Debtorname Okaysou Corporation —

United States Bankruptcy Court for the: CENTRAL DISTRICT OF CALIFORNIA

Case number (if known) 6:23-bk-11535

O Check if this is an
amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property

12/5

Be as complete and accurate as possible.

1. Do any creditors have claims secured by debtor's property?
(C1 No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
Yes. Fill in all of the information below.

List Creditors Who Have Secured Claims

; i Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured con A
claim, list the creditor separately for each claim. Amount of claim Value of collateral
that supports this
Do not deduct the value claim
of collateral.
Amazon Capital Services,
2a) Inc. Describe debtor's property that is subject to a lien $900,000.00 $0.00
Creditors Name Debtor's assets
PO Box 84837
Seattle, WA 98124 - —— —— — —
Creditor's malling address : Describe the lien
Non-Purchase Money Security _ _
Is the creditor an insider or related party?
- Bno
Creditors email address, if known oO Yes
Is anyone else liable on this claim?
Date debt was incurred HEno
2022 O Yes. Fill out Schedule H: Codebtors (Official Form 206H)
Last 4 digits of account number
Do multiple creditors havean —sAs: of the petition filing date, the claim is:
interest in the same property? Check all that apply
Bno U1 Contingent
C1 Yes. Specify each creditor, D1 unliquidated
including this creditor and its relative D Disputed
priority.
‘22 |WebBank Describe debtor's property that is subject to a lien $103,960.00 $0.00
- Creditors Name Debtor's assets
100 Shockoe Slip, 2nd
Floor

Richmond, VA 23219

Creditors mailing address

Describe the lien

Non-Purchase Money Security
Is the creditor an insider or related party?

ee | - Bi No
Creditors email address, if known OD Yes
Is anyone else liable on this claim?
Date debt was incurred Bi No
2022 O Yes. Fill out Schedule H: Codebtors (Official Form 206H)
Last 4 digits of account number
Okaysou _

Do multiple creditors have an
interest in the same property?

Official Form 206D

As of the petition filing date, the claim is:
Check all that apply

Schedule D: Creditors Who Have Claims Secured by Property

page 1 of 2
Case 6:23-bk-11535-MH Doci12_ Filed 05/01/23 Entered 05/01/23 11:22:38
Main Document Page 10 of 23

Debtor Okaysou Corporation Case number (f known) 6:23-bk-11535
Name OO — _ — - :
Eno O contingent
D Yes. Specify each creditor, oO Unliquidated
including this creditor and its relative O pisputed
priority.
$1,003,960.0
3, Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any. 0

List Others to Be Notified for a Debt Already Listed in Part 1

Desc

List in alphabetical order any others who must be notified for a debt already listed In Part 1. Examples of entities that may be listed are collection agencies,

assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

Name and address On which line in Part 1 did Last 4 digits of
you enter the related creditor? account number for

this entity

Official Form 206D Additional Page of Schedule D: Creditors Who Have Claims Secured by Property

page 2 of 2
Case 6:23-bk-11535-MH Doci12_ Filed 05/01/23 Entered 05/01/23 11:22:38 Desc
Main Document Page 11 of 23

PTS Celt Celi CoCo tinal Uileaer: oe

Debtorname Okaysou Corporation

United States Bankruptcy Court for the: CENTRAL DISTRICT OF CALIFORNIA

Case number (if known) 6:23-bk-11535
= OO Check if this is an

amended filing

Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims 12/15

Be as complete and accurate as possible. Use Part 4 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

List All Creditors with PRIORITY Unsecured Claims
1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
Wl No. Goto Part 2.
0 Yes. Goto line 2.
List All Creditors with NONPRIORITY Unsecured Claims

3. List in alphabetical order all of the creditors with nonpriority unsecured claims. |f the debtor has more than 6 creditors with nonpriority unsecured claims, fill
out and attach the Additional Page of Part 2

Amount of claim

‘3.1, Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ail that apply. __ Unknown
Arovast Corporation C1 Contingent
c/o Trojan law Offices Wh iia
. ; Unliquidated
9250 Wilshire Blvd., Ste 325 as "
Beverly Hills, CA 90212 Disputed
Date(s) debt was incurred Unknown Basis for the claim: Pending litigation / IP dispute
Last 4 digits of account number 1037 Is the claim subject to offset? Ml No 11 Yes
| 3.2 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ai that apply $25,000.00
Cansail Fulfillment O1 contingent
13828 Mountain Ave, 0 unliquidated
Chino, CA 91710 O pisputea
Date(s) debt was incurred _ Basis for the claim:

Last 4 digits of account number
3 - Is the claim subject to offset? Ml No DO] Yes

13.3 Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ail that apply. Unknown
Elekcity Corporation O1 Contingent
c/o Trojan law Offices WH Uniiquidated

9250 Wilshire Blvd., Ste 325
Beverly Hills, CA 90212

Date(s) debt was incurred _

I Disputed
Basis for the claim: pending litigation / IP dispute

Last 4 digits of account number 1037 Is the claim subject to offset? Ml No C1 Yes
‘3.4 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ail that apply. $7,250.00
Fedex CO Contingent
3965 Airways, Module G 0 unliquidated
4th Floor O pisputed
Seattle, WA 98116

. Basis for the claim:
Date(s) debt was incurred _ -

Last 4 digits of account number \s the claim subject to offset? Mino Oves

Official Form 206E/F Schedule E/F: Creditors Who Have Unsecured Claims page 1 of 2
43881
Case 6:23-bk-11535-MH Doci12 Filed 05/01/23 Entered 05/01/23 11:22:38 Desc
Main Document Page 12 of 23

Debtor Okaysou Corporation:

Name

[35 | Nonpriority creditor's name and mailing address
UPS
PO box 650116

Dallas, TX 75265-0116
Date(s) debt was incurred 2021-2022
Last 4 digits of account number W821

[3.6 _| Nonpriority creditor's name and mailing address
Wakool Transport
19130 San Jose Ave,
Rowland Heights, CA 91748
Date(s) debt was incurred _

Last 4 digits of account number _

List Others to Be Notified About Unsecured Claims

Case number (if known) 6:23-bk-11535

As of the petition filing date, the claim Is: Check al! that apply.
O Contingent

Oo Unliquidated

Oo Disputed

Basis for the claim: Trade debt

Is the claim subject to offset? Bno Oves

As of the petition filing date, the claim is: Check all that apply.

O1 Contingent
oO Unliquidated
O Disputed

Basis for the claim: _

Is the claim subject to offset? Bno Oves

$2,000.00

$3,600.00

4. List in alphabetical order any others who must be notified for claims listed In Parts 1 and 2. Examples of entities that may be listed are collection agencies,

assignees of claims listed above, and attorneys for unsecured creditors.

If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

Name and mailing address

On which line in Part1 or Part 2 Is the

related creditor (if any) listed?

GGEEZSIE Total Amounts of the Priority and Nonpriority Unsecured Claims -

5. Add the amounts of priority and nonpriority unsecured claims.

Sa. Total claims from Part 1
5b. Total claims from Part 2

5c. Total of Parts 1 and 2
Lines 5a + 5b = 5c.

Official Form 206 E/F

Total of claim amoun
5a.
5b. + S$ — 3
5c. $

Schedule E/F: Creditors Who Have Unsecured Claims

Last 4 digits of

account number, if

any

ts
0.00

7,850.00

37,850.00

Page 2 of 2
Case 6:23-bk-11535-MH Doci12 Filed 05/01/23 Entered 05/01/23 11:22:38 Desc
Main Document Page 13 of 23

TUT MU elem Come cn a lem kien

Debtor name Okaysou Corporation

United States Bankruptcy Court for the: CENTRAL DISTRICT OF CALIFORNIA

Case number (if known) 6:23-bk-11535 _

O Check if this is an
amended filing

Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases 12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1. Does the debtor have any executory contracts or unexpired leases?
(1 No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.

I Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Rea! and Personal Property
(Official Form 206A/B).

2. List all contracts and unexpired leases State the name and mailing address for all other parties with
whom the debtor has an executory contract or unexpired
lease

2.1. State what the contract or Warehouse lease

lease is for and the nature of
the debtor's interest

State the term remaining .
Rexford Industrial
List the contract number of any 11620 Wilshire Blvd, #1000
government contract — Los Angeles, CA 90025

Official Form 206G Schedule G: Executory Contracts and Unexpired Leases Page 1 of 1
Case 6:23-bk-11535-MH Doci12 Filed 05/01/23 Entered 05/01/23 11:22:38 Desc
Main Document Page 14 of 23

Melee meee TUM U ite

Debtorname Okaysou Corporation _

United States Bankruptcy Court for the: CENTRAL DISTRICT OF CALIFORNIA

Case number (if known) 6:23-bk-11535
————— SS ae O Check if this is an
amended filing

Official Form 206H
Schedule H: Your Codebtors 12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

1. Do you have any codebtors?

I No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
O Yes

2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

Column 1: Codebtor Column 2: Creditor
Name Mailing Address Name Check ail schedules
that apply:
2.1 — - ee rs C DD
Street OeEF
a OG
City State "Zip Code
2.2 _ ee ee Oo
— Street Oer
_— a OG
City State —S-_ Zip Code
2.3 ee a ee - Se Ob
Street OerF
ners _ _ OG
‘City ss State ———S*«SZip Code
eh - _ _ — Ob
Street OE/F
ee a OG
City State Zip Code

Official Form 206H Schedule H: Your Codebtors Page 1 of 1
Case 6:23-bk-11535-MH Doci2_ Filed 05/01/23 Entered 05/01/23 11:22:38 Desc
Main Document Page 15 of 23

UR Mole leh mot TN m Ur PtH

Debtorname Okaysou Corporation

United States Bankruptcy Court forthe: CENTRAL DISTRICT OF CALIFORNIA

Case number (ifknown) 6:23-bk-11535
— O Check if this is an
amended filing

Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy 04/22

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor's name and case number (if known).

Income

1. Gross revenue from business

O None.
Identify the beginning and ending dates of the debtor's fiscal year, Sources of revenue Gross revenue
which may be a calendar year Check all that apply (before deductions and
exclusions)
From the beginning of the fiscal year to filing date: I Operating a business $1,347,608.00
From 1/01/2023 to Filing Date
O Other
For prior year: I Operating a business $4,500,000.00
From 1/01/2022 to 12/31/2022 -
Oother
For year before that: I Operating a business $4,469,977.00
From 1/01/2021 to 12/31/2021 :
O Other

2. Non-business revenue
Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

Mi None.

Description of sources of revenue Gross revenue from
each source
(before deductions and
exclusions)

[GEREAEE List Certain Transfers Made Before Filing for Bankruptcy _
3. Certain payments or transfers to creditors within 90 days before filing this case
List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before

filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
and every 3 years after that with respect to cases filed on or after the date of adjustment.)

Hi None.

Creditor's Name and Address Dates Total amount of value Reasons for payment or transfer
Check all that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed

Official Form 207 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy page 1
Case 6:23-bk-11535-MH Doci12 Filed 05/01/23 Entered 05/01/23 11:22:38 Desc
Main Document Page 16 of 23

Debtor Okaysou Corporation Case number (itknown) 6:23-bk-11535

or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
listed in line 3. insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

CO None.

Insider's name and address Dates Total amount of value §_ Reasons for payment or transfer
Relationship to debtor

4.1. Henry Mao April 2022 - $54,000.00 Salary

April 2023
___President of Debtor

5. Repossessions, foreclosures, and returns
List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

HI None

Creditor's name and address Describe of the Property Date Value of property

6. Setoffs
List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
of the debtor without permission or refused to make a payment at the debtor's direction from an account of the debtor because the debtor owed a
debt.

Hi None

Creditor's name and address Description of the action creditor took Date action was Amount
taken

GERERME LegalActionsorAssignments. ess ee

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
in any capacity—within 1 year before filing this case.

C1 None.
Case title Nature of case Court or agency's name and Status of case
Case number address

7.1. Arovast Corporation et al v. Patent infringment United States District Court HI Pending
Okaysou Corporation et al 411 W. 4th Street CO onappeal
8:22-cv-01037-MRW Santa Ana, CA 92701 OD Concluded

8. Assignments and receivership
List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a

receiver, custodian, or other court-appointed officer within 1 year before filing this case.

HI None

GEREN Certain Gifts and Charitable Contributions a

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
the gifts to that recipient is less than $1,000

Hi None

Recipient's name and address Description of the gifts or contributions Dates given Value

Official Form 207 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy page 2
Case 6:23-bk-11535-MH Doci12_ Filed 05/01/23 Entered 05/01/23 11:22:38 Desc
Main Document Page 17 of 23

Debtor Okaysou Corporation — — Case number (ifknown) 6:23-bk-11535

GEESE Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

@ None

Description of the property lost and Amount of payments received for the loss Dates of loss Value of property
how the loss occurred lost

If you have received payments to cover the loss, for
example, from insurance, government compensation, or
tort liability, list the total received.

List unpaid claims on Official Form 106A/B (Schedule
AB: Assets — Real and Personal Property).

GEE Certain Payments or Transfers _

11. Payments related to bankruptcy

List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing

of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
relief, or filing a bankruptcy case.

01 None.

Who was paid or who received If not money, describe any property transferred Dates Total amount or
the transfer? value

Address
11.1. YKLAW, LLP
445 S. Figueroa Street, Ste
2280
Los Angeles, CA 90071 Attorney Fees 04/13/2023 _ _ $30,000.00

Email or website address
vkhojayan@yklaw.us

Who made the payment, if not debtor?

12. Self-settled trusts of which the debtor is a beneficiary

List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
to a self-settled trust or similar device.

Do not include transfers already listed on this statement.
Hi None.

Name of trust or device Describe any property transferred Dates transfers Total amount or
were made value

13. Transfers not already listed on this statement
List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

Hi None.
Who received transfer? Description of property transferred or Date transfer Total amount or
Address payments received or debts paid in exchange was made value

Previous Locations

14. Previous addresses
List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

Hl Does not apply

Official Form 207 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy page 3
Case 6:23-bk-11535-MH Doci12 Filed 05/01/23 Entered 05/01/23 11:22:38 Desc
Main Document Page 18 of 23

Debtor Okaysou Corporation - Case number (if known) 6:23-bk-11535

Address Dates of occupancy
From-To

GGEIEH Health Care Bankruptcies -
15. Health Care bankruptcies
Is the debtor primarily engaged in offering services and facilities for:

- diagnosing or treating injury, deformity, or disease, or
- providing any surgical, psychiatric, drug treatment, or obstetric care?

Hl No. Go to Part 9.
O Yes. Fill in the information below.

Facility name and address Nature of the business operation, including type of services If debtor provides meals
the debtor provides and housing, number of
patients in debtor's care

GEER Personally Identifiable Information ee _

16. Does the debtor collect and retain personally identifiable information of customers?

No.
OsYes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
profit-sharing plan made available by the debtor as an employee benefit?

HM No. Go to Part 10.
1 Yes. Does the debtor serve as plan administrator?

GEERCoe Certain Financial Accounts, Safe Deposit Boxes, and Storage Units — ee _

18. Closed financial accounts
Within 1 year before filing this case, were any financial accounts or instruments held in the debtor's name, or for the debtor's benefit, closed, sold,

moved, or transferred?
Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,

cooperatives, associations, and other financial institutions.

Mi None
Financial Institution name and Last 4 digits of Type of account or Date account was Last balance
Address account number instrument closed, sold, before closing or
moved, or transfer
transferred

19. Safe deposit boxes
List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this

case.
i None
Depository institution name and address Names of anyone with Description of the contents Does debtor
access to it still have it?
Address

20. Off-premises storage
List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in

which the debtor does business.

HI None

Facility name and address Names of anyone with Description of the contents Does debtor
access to it still have it?

Official Form 207 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy page 4
Case 6:23-bk-11535-MH Doci2_ Filed 05/01/23 Entered 05/01/23 11:22:38 Desc
Main Document Page 19 of 23

Debtor Okaysou Corporation Case number (itknown) 6:23-bk-11535

GEXGREEM Property the Debtor Holds or Controls That the Debtor Does Not Own
21. Property held for another

List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
not list leased or rented property.

Hi None

GERRERE Details About Environment Information

For the purpose of Part 12, the following definitions apply:
Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
medium affected (air, land, water, or any other medium).

Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
owned, operated, or utilized.

Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

H No.

O Yes. Provide details below.

Case title Court or agency name and Nature of the case Status of case
Case number address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
environmental law?

H No.

O Yes. Provide details below.

Site name and address Governmental unit name and Environmental law, if known Date of notice
address

24, Has the debtor notified any governmental unit of any release of hazardous material?

BH No.

0 Yes. Provide details below.

Site name and address Governmental unit name and Environmental law, if known Date of notice
address

25. Other businesses in which the debtor has or has had an interest
List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
Include this information even if already listed in the Schedules.

@ None

Business name address Describe the nature of the business Employer Identification number
Do not include Social Security number or ITIN.

Dates business existed

26. Books, records, and financial statements
26a. List all accountants and bookkeepers who maintained the debtor's books and records within 2 years before filing this case.

O None

Name and address Date of service
From-To

Official Form 207 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy page 5
Case 6:23-bk-11535-MH Doci12 Filed 05/01/23 Entered 05/01/23 11:22:38 Desc
Main Document Page 20 of 23

Debtor Okaysou Corporation — Case number (ifknown) 6:23-bk-11535 _

Name and address Date of service
From-To
26a.1. Capital Premier CPA 2021 - present

3284 E. Lavender Drive,
_____ Ontario, CA 91762 _

26b. List all firms or individuals who have audited, compiled, or reviewed debtor's books of account and records or prepared a financial statement
within 2 years before filing this case.

HI None

26c. List all firms or individuals who were in possession of the debtor's books of account and records when this case is filed.
Wi None

Name and address If any books of account and records are
unavailable, explain why

26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
statement within 2 years before filing this case.

Hi None

Name and address

27. Inventories
Have any inventories of the debtor's property been taken within 2 years before filing this case?

HM No

O Yes. Give the details about the two most recent inventories.
Name of the person who supervised the taking of the Date ofinventory The dollar amount and basis (cost, market,
inventory or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
in control of the debtor at the time of the filing of this case.

Name Address Position and nature of any % of interest, if
interest any
Hao Ma 2010 Napoli Ct, # 103 Director and Officer of Debtor 100

Corona, CA 92881

29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
control of the debtor, or shareholders in control of the debtor who no longer hold these positions?

HM No
O Yes. Identify below.

30. Payments, distributions, or withdrawals credited or given to insiders
Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
loans, credits on loans, stock redemptions, and options exercised?

BH No
O Yes. identify below.
Name and address of recipient Amount of money or description and value of Dates Reason for
property providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

Official Form 207 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy page 6
Case 6:23-bk-11535-MH Doci12 Filed 05/01/23 Entered 05/01/23 11:22:38 Desc
Main Document Page 21 of 23

Debtor Okaysou Corporation _ Case number (ifknown) 6:23-bk-11535

H No
Ol Yes. Identify below.
Name of the parent corporation Employer Identification number of the parent
corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

H No
O Yes. Identify below.
Name of the pension fund Employer Identification number of the pension
fund

GEREZEE Signature and Declaration

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

| have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
and correct.

| declare under penalty of perjury that the foregoing is true and correct.

Executedon April 28,2023

Is/ Hao Ma ao PLA Hao Ma
Signature of individual signing on behalf of the debtor Printed name

Position or relationship to debtor Chief Executive Officer

Are additional pages to Statement of Financial Affairs fer Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
HNo
O Yes

Official Form 207 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy page 7
Case 6:23-bk-11535-MH Doc12_ Filed 05/01/23 Entered 05/01/23 11:22:38 Desc
Main Document Page 22 of 23

B2030 (Form 2030) (12/15)
United States Bankruptcy Court
Central District of California

Inre OkaysouCorporation sy — Case No. _ 6:23-bk-11535
Debtor(s) Chapter | 1

DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)

1. Pursuant to 11 U.S.C. § 329(a) and Fed, Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

For legal services, I have agreed to accept $ 30,000.00
Prior to the filing of this statement I have received $ 30,000.00
Balance Due $ 0.00

2. The source of the compensation paid to me was:

@ Debtor O Other (specify):

3. The source of compensation to be paid to me is:

HM Debtor O Other (specify):
4. Ml Ihave not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

CO Ihave agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.  Inreturn for the above-disclosed fee, | have agreed to render legal service for all aspects of the bankruptcy case, including:

Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
Preparation and filing of any petition, schedules, statement of affairs and plan which may be required,
Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;

[Other provisions as needed]
Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of

reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
522(f)(2)(A) for avoidance of liens on household goods.

ae on

6. By agreement with the debtor(s), the above-disclosed fee does not include the following service:
Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or

any other adversary proceeding.

CERTIFICATION

I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in

this bankruptcy proceeding.
April 28, 2023 _ ee IsiVahe Khojayan
Date... Vahe Khojayan SBN261996
Signature of Attorney
YK LAW, LLP
445 S. Figueroa Street, Ste 2280
Los Angeles, CA 90071
213-401-0970 Fax: 213-529-3044
vkhojayan@yklaw.us
Name of law firm

Case 6:23-bk-11535-MH Doci12_ Filed 05/01/23 Entered 05/01/23 11:22:38 Desc
Main Document Page 23 of 23

Attorney or Party Name, Address, Telephone & FAX Nos., FOR COURT USE ONLY
State Bar No. & Email Address

Vahe Khojayan SBN261996

445 S. Figueroa Street, Ste 2280

Los Angeles, CA 90071

213-401-0970 Fax: 213-529-3044

California State Bar Number: SBN261996 CA
vkhojayan@yklaw.us

| Debtor(s) appearing without an attorney
@ Attorney for Debtor

UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA

In re:
CASE NO.: 6:23-bk-11535
CHAPTER: 11

Okaysou Corporation

VERIFICATION OF MASTER
MAILING LIST OF CREDITORS

[LBR 1007-1(a)]
Debtor(s).

Pursuant to LBR 1007-1(a), the Debtor, or the Debtor's attorney if applicable, certifies under penalty of perjury that the
master mailing list of creditors filed in this bankruptcy case, consisting of _2_ sheet(s) is complete, correct, and
consistent with the Debtor's schedules and I/we assume all responsibility for errors and omissions.

Date: April 28,2023 oe Is] Hao Ma (Aeon
Signature of Debtor 1

Date: ee a _
Signature of Debtor 2 (joint debtor) ) (if applicable)

Date: April 28, 2023 Is/Vahe Khojayan ee

Signature of Attorney for Debtor (if applicable)

This form is optional. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2015 F 1007-1.MAILING.LIST.VERIFICATION
